            Case 2:08-cr-00363-WBS Document 133 Filed 03/26/12 Page 1 of 1


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5
6
                        IN THE UNITED STATES DISTRICT COURT
7
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9
     UNITED STATES OF AMERICA,        )         CR. No. S 2:08-363 GEB
10                                    )
                                      )
11                   Plaintiff,       )
                                      )
12                                    )           ORDER
                  v.                  )
13                                    )
                                      )
14   LORETTA LEIGH CANHAM,            )
                                      )
15                    Defendant.      )
     _________________________________)
16
17
                                        ORDER
18
           For the reasons set forth in the motion to dismiss filed by
19
     the United States, IT IS HEREBY ORDERED that:
20
           The Indictment in case number CR S 2:08-363 GEB, as to
21
     defendant LORETTA LEIGH CANHAM is hereby DISMISSED pursuant to
22
     Federal Rule of Criminal Procedure 48(a) without prejudice.
23
24   Dated: March 26, 2012

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26                                   GARLAND E. BURRELL, JR.
                                     United States District Judge
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